                                                          18-cr-693
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     The Hon. Richard M. Berman
     Daniel Patrick Moynihan
                                        ~       DEC 3 2020      l!:!J
                                               CHAMBERS OF
     US Courthouse                          RICHARD M: BERMAN
                                                   U.S,D.J.
     500 Pearl Street
     NY, NY 10007-1312                                              Nov.22, 2020


     Your Honor,

     Although I have no way of knowing if you received my letter of Nov. 9th
     (akin to sending a message in a bottle) asking to permit my husband HJ
     von der Goltz to surrender after the holidays, I want to thank you in the
     name of our family for granting him this special wish!
     We are tremendously grateful for your kind decision so that Johan will be
     able to spend this extra time with us.
     Wishing you and your family a Happy Thanksgiving and wonderful
     holidays,

     Sincerely,




     Belle von der Goltz


                                          Clerk to docket & file.


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                                               12/3/2020
